THIS was an action of debt at the suit of Caleb S. Lay-ton against Richard France and Stephen Broadbent on a single bill sealed with their seals and dated the 5th day of February, 1859, by which for value received they promised to pay to him, his heirs and assigns, the sum of twenty thousand dollars in manner and form following, the sum of one thousand dollars to be paid on the first day of January, eighteen hundred and sixty, and the balance thereof to be paid in nineteen annual instalments of one thousand dollars each on the first day of January in each and every year thereafter, until the whole sum should be paid. France had been served with process in the action, but the summons was returned non est as to *Page 406 
Broadbent, and the declaration filed against the former, noting the return as to the latter, was in debt for the instalment of one thousand dollars which was due and payable under it on the 1st day of January, 1861, and contained a common count in indebtitatusassumpsit for work and labor performed by the plaintiff as the attorney of and for the defendants, and also a count for interest for money due and unpaid to him. To the declaration the defendant entered a general demurrer.